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         ORDERED in the Southern District of Florida on October 9, 2023.



                                                             Peter D. Russin, Judge
                                                             United States Bankruptcy Court
_____________________________________________________________________________


                            IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   FORT LAUDERDALE DIVISION
        In re:


        RALPH LEVI SANDERS, JR.                                            CASE NO.: 23-16706-PDR
                                                                           CHAPTER 13
                                Debtor.
        ____________________________________/

                            ORDER DISMISSING CASE AND GRANTING
                        PROSPECTIVE RELIEF FROM THE AUTOMATIC STAY

                 THIS CAUSE came on for hearing on October 5, 2023 at 10:00 AM on the Motion to

        Dismiss Case With Two-Year Prejudice Period or in the Alternative Motion for Prospective Relief

        from the Automatic Stay (“Motion”) filed by The Bank of New York Mellon, f/k/a The Bank of

        New York as successor in interest to JPMorgan Chase Bank, N.A. as Trustee for Bear Stearns

        Asset Backed Securities Trust 2006-SD2, Asset-Backed Certificates, Series 2006-SD2 (“Movant”)

        (Doc. No. 13). Having considered the Motion, the record, and for the reasons stated orally on the

        record in open court, the Court FINDS cause to dismiss the instant case and that the Debtor has

        engaged in a pattern of multiple bankruptcy filings affecting the below real property that
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constitutes a scheme to delay and hinder Movant from effectuating its rights against said property

in state court. Therefore, it is

        ORDERED:

        1.      The Motion (Doc. No. 13) is GRANTED.

        2.      This case is DISMISSED.

        3.      All pending motions are denied as moot.

        4.      The Chapter 13 Trustee shall file a final report prior to the administrative closing

of the case.

        5.      Any motion to rehear, reconsider, or reinstate a dismissed case must be filed in

accordance with the requirements of Local Rule 9013-1(E).

        6.      In accordance with Local Rule 1002-1(B)(1), the clerk of court is directed to

refuse to accept for filing any future voluntary petitions submitted by this Debtor if the refiling

violates a prior order of the Court or if the petition is accompanied by an Application to Pay

Filing Fee in installments and filing fees remain due from any previous case filed by the Debtor.

        7.      For a period of two (2) years from the date of entry of this Order, the automatic stay

arising by reason of 11 U.S.C. §362 of the Bankruptcy Code is terminated, prospectively, as to

Movant’s interest in the following property located in Broward County, Florida:

LOT 22, IN BLOCK 4, OF PLANTATION PARK 10TH ADDITION, ACCORDING TO
THE PLAT THEREOF, AS RECORDED IN PLAT BOOK 55, AT PAGE 21, OF THE
PUBLIC RECORDS OF BROWARD COUNTY, FLORIDA.

AKA 561 SW 60 Ave., Plantation, FL 33317 (“Property”).

        8.      Movant has in rem relief and is permitted to take all steps necessary to exercise any

and all rights it may have in the Property, to gain possession of said Property, to have such other

and further in rem relief as is just.




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       9.      Pursuant to 11 U.S.C. §362(d)(4), the prospective relief granted herein shall be

binding in any other case under this Title purporting to affect the Property filed not later than two

(2) years after the date of entry of this Order by any person or entity, including but not limited

to, any spouse and/or relative of the Debtor.

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Submitted by:

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Counsel for Movant is directed to serve a copy of this order to the parties below and file a
Certificate of Service with the Court.

VIA FIRST CLASS MAIL
Ralph Levi Sanders, Jr.
561 SW 60TH Avenue
Plantation, FL 33317

VIA CM/ECF NOTICE
Robin R. Weiner, Chapter 13 Trustee
Post Office Box 559007
Fort Lauderdale, FL 33355

U.S. Trustee
Office of the US Trustee
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130




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